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                                                                    •   " " - . - - . . . . . . _.. _   I,'
                                                                 CLER!\ lJf\ DISTRICT COURT   I
 2                                                            SOUTHERN DISTRICT OF CALIFORNIA ,
                                                              BY      _                 DEPUTY!
 3
 4                           UNITED STATES DISTRICT COURT
 5                          SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   GOLDEN EYE MEDIA USA, INC., a                Case No.: 3:18-cv-02109-BEN-LL
     California corporation; FARZAN
 8
     DEHMOUBED, an individual; and                ORDER GRANTING REQUEST TO
 9   JENNIFER DUVALL, an individual,              SUBSTITUTE COUNSEL
10               Plaintiff/ Counter-Defendants,
                                                   [Doc. No. 38.]
11   v.
12   TROLLEY BAGS UK LTD, a
     corporation of the United Kingdom; and
13
     BERGHOF INTERNATIONAL, INC., a
14   Florida corporation,
15               Defendants / Counterclaimants.
16
17         The Court has reviewed the Notice of Withdrawal and Request to Substitute
18   Counsel filed by Plaintiff/ Counter-Defendants Golden Eye Media USA, Inc., Farzan
19   Dehmoubed and Jennifer Duvall (collectively "Plaintiffs"). The Request is hereby
20   GRANTED. Plaintiffs' former counsel of record, Attorneys Joseph A. Mandour,
21   Gordon E. Gray, and Ben T. Lila ofMandour & Associates, APC, is substituted with
22   Plaintiffs' new counsel of record, Trevor Q. Coddington, Cody R. LeJeune, and Charles
23   A. Blazer ofinsigne LLP. The clerk shall remove Mr. Mandour, Mr. Gray, and Mr. Lila
24   as counsel of record i this matter.
25
26
27   Dated:   _J.J_J._..(J.~--'   2019
                                              Hon. R'.og     Benitez
28                                            United States District Judge


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